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                                       ORDERED.
  Dated: December 09, 2024




                   IN THE UNITED STATES BANKRUPTCY COURT
                MIDDLE DISTRICT OF FLORIDA, FORT MYERS DIVISION
In Re:

DONALD MARCUSSON AND KERRIE ANN                       Case No. 2:17-bk-01890-FMD
MACUSSON,

                               Debtors.           /

                         ORDER APPROVING APPLICATION TO
                       EMPLOY SPECIAL COUNSEL FOR TRUSTEE

        THIS CASE came on for consideration without hearing upon an Application to Employ
Special Counsel (Doc No. 32) filed by the Trustee herein. The Court has considered the
Application, together with the record, and finds that the Application seeks to employ Layne
Stackhouse of Shrader & Associates, LLP, Rebecca L. Tortorici of Akin Mears, LLP, and James
J. McHugh, Jr., of Lopez McHugh, LLP, as special counsel for the Trustee. As no notice of hearing
on the Application should be given, and the attorneys of the above-named law firms are duly
admitted to practice in the court in which the relevant claim is pending, this Court is satisfied that
the employment is necessary and would be in the best interest of the estate, and that the case is one
justifying the employment of said attorneys under a contingency fee agreement. The Application
to Employ Special Counsel, therefore should be approved, and it is, therefore

         ORDERED that the Application be and the same is hereby approved.
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       IT IS FURTHER ORDERED that the Trustee be, and he is hereby authorized to employ
Layne Stackhouse of Shrader & Associates, LLP, Rebecca L. Tortorici of Akin Mears, LLP, and
James J. McHugh, Jr., of Lopez McHugh, LLP, based upon the terms and conditions in the
Application. The amount of compensation of counsel from the estate, if any, shall be determined
by Order of this Court upon properly submitted application for allowance filed in compliance with
Bankruptcy Rule 2016. Compensation will be determined in accordance with 11 U.S.C. §330.

Trustee Robert E. Tardif Jr. is directed to serve a copy of this order on interested parties who do
not receive service by CM/ECF and file a proof of service within three days of entry of this order.
